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                                          UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
                                                                 CASE NUMBER:
   Ox Labs Inc..
                                                                                CV 18-5934-MWF (KSx)
                                                  Plaintiff(s)
                               v.

   Bitpay, Inc. et al.,              ,
                                                                  MOTION RE: INFORMAL DISCOVERY DISPUTE
                                                Defendant(s)



The parties have requested an informal discovery conference with Magistrate Judge KAREN L. STEVENSON
Counsel for each party has submitted their respective positions and the issue will be adjudicated in accordance
with the Magistrate Judge's procedures.
The telephonic discovery conference is scheduled for Monday, August 5, 2019 at a1:00p.m. The call-in information
has been provided to the participating parties by email.



 Dated:              July 31, 2019                                      By:            G. Roberson
                                                                                       Deputy Clerk




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